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                  UNITED STATES DISTRICT COUR T
                  SOUTHE I -C         [y ( IiA DTI

     ()3-20 5                    CASE NO .


UNITED STATES OF AMERICA ,



V.
                                                    JUL - 1 2003
BARUCH JAIRO VEGA ,
                                                   CLARENCE MADDOX
                                                  CLERK U .S . DIST
                                                   S .D . OF FLA .  . CT.
                 Defendant .                                       . MIAM I




                               INFORMATION



THE ASSISTANT ATTORNEY GENERAL CHARGES THAT :

     During the calendar year 1998, the defendant ,

                            BARUCH JAIRO VEGA

a resident of Miami Beach, Florida, had and received gross income

of $239,500 ; that by reason of such gross income, he was required

by law, following the close of the calendar year 1998, on or before

April 15, 1999, to make an income tax return to the District

Director of the Internal Revenue Service of South Florida, at Fort

Lauderdale, Florida, in the Southern District of Florida, or to the

Director, Internal Revenue Service Center, Atlanta, Georgia, or to

any other proper officer of the United States, stating specifically




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the items of his gross income and any deductions and credits to

which he was entitled ; that well-knowing and believing all of the

foregoing, he did willfully fail to make an income tax return to

said District Director of the Internal Revenue Service, to said

Director of the Internal Revenue Service Center, or to any proper

officer of the United States .

         All in violation of Title 26, United States Code, Sectio n

7203 .



                                    EILEEN J . O'CONNOR
                                    ASSISTANT ATTORNEY GENERAL
                                    TAX DIVISIO N



                             By :

                                               t Special ttorney, Tax Divisio n
                                    U .S . Department of Justic e
                                    Florida Bar No . A550037 3
                                    600 E St ., N .W . Room 581 0
                                    Washington, D .C . 2053 0
                                    Telephone : (202) 514-514 5
                                    Facsimile : (202) 514-0961
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                                    UNITED STATES DISTRICT COI'
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                                                         9UNITEDSAOF                      N

v . CERTIFICATE OF TRIAL ATTORNE`Y' .- '
BARUCH JAIRO VEGA

               Defendant. /                    Superseding Case Information :
Court Division : (select one) New Defendant(s) Yes No X
                               Number of New Defendants
                                                     t-
  X    Miami Key West Total number of counts                                      1
       FTL WPB FT P

       I do hereby certify that :
       1 . I have carefully considered the allegations of the indictment, the number of
               defendants, the number of probable witnesses and the legal complexities of the
               Indictment/information attached hereto .

       2 . I am aware that the information supplied on this statement will b
               Judges of this Court in setting their calendars and scheduling rh'frtefs c~er t h
               mandate of the Speedy Trial Act, Title 28 U .S .C. Section 31 1 . MPG . S-
       3.      Interpreter : (Yes or No)                     No                                    3
                                                                                          3UL - ~ V
               List language and/or dialec t
                                                                                                               ~
       4. This case will take 0 days for the pa rties to try.                             CLERK FCFLA 1, M
                                                                                           S .O .
                                                                                  I
       5. Please check appropriate category and type of offense listed bel o
              (Check only one) (Check only one )

       1 0 to 5 days      X  Petty
       II 6 to 10 days Minor
       III 11 to 20 days Misdem .
       IV 21 to 60 days Felony
       V 61 days and over

       6 . Has this case been previously filed in this District Court? (Yes or No)                  No
       If yes :
       Judge : Case                              No .
       (Attach copy of dispositive or e r
       Has a complaint been filed in this matter? (Yes or No)            No
       If yes:
       Magistrate Case No .
       Related Miscellaneous numbers :
       Defendant(s) in federal custody as of
       Defendant(s) in state custody as o f
       Rule 20 from the District of
       Is this a potential death penalty case? (Yes or No)                No
       7 . Does this case on inate from a matter pending in the U . S . Attorney's Office prior to
       April 1, 1999?    Yes X No If yes , was it pending in the Central Region? _ Yes _

       8 . Did this case originate in the Narcotics Section , Mip i?? Yes             X     No


                                                     SPEC L ATTORNEY
                                                     Florida Bar No . A550037 3
`Penal ty Sheet(s) attached                                                                              REV.6/27/00
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                             UNITED STATES DISTRICT COURT ' ACUSTRATE 3U
                             SO T DI I GTJ@ `-- IBItOWN

              3     20                  ENALTY SHEET

Defendant ' s Name : Baruch Jairo Vega                                  FILED by D .C .
                                                                        MAG . SEC .

Case No :
                                                                               JUL - 1 2003
Count # : 1
                                                                              CLARENCE MADDOX
                                                                             CLERK U .S . DIST . CT.
                                                                              S .D . OF FLA . - MIAM I
  Willful Failure to File Income Tax Retur n

  Title 26, United States Code, Section 720 3

* Max .Penalty:            1 year imprisonment/$ 100,000 fine

Count # : 2

  [Count II Description]

  [Count II Title & Section]

*Max. Pena lty :       [Count H Max Penalty (Years)] years' imprison m ent

Count # : 3

  [Count III Description]

 [Count III Title & Section]

*Max. Penalty : [Count III Max Penalty (years)] years' imprisonmen t

Count # : 4

 [Count N Description]

 [Count N Title & Section s

*Max . Penalty : [Count IV Max Penalty (years)] years' imprisonmen t




 *Refers only to possible term of incarceration , does not include possible fines, restitution,
         special assessments , parole terms , or forfeitures that may be applicable .
